              ✔                Case 1:21-mj-00533-ZMF Document 14 Filed 08/11/21 Page 1 of 1
Government                                      UNITED STATES OF AMERICA
Plaintiff                                                   VS.                       Civil/Criminal No. 21-533M-01
Defendant
                                                       SAMUEL LAZAR
Joint
Court

EXHIBIT             DESCRIPTION OF EXHIBITS                 MARKED     RECEIVED        WITNESS            EXHIBITS
NUMBER                                                      FOR I.D.       IN                             SENT INTO
                                                                       EVIDENCE                           JURY
                                                                                                          (date & time)
             Body-worn camera video clip from
     1       Metropolitan Police officer                    8/11/21    8/11/21
             U-Tube video clip in which Defendant is
     2       interviewed                                    8/11/21    8/11/21
